







		NO. 12-08-00259-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




PAULA ANN HOBBS,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant entered an open plea of guilty to forgery and was placed on deferred adjudication
community supervision for three years.  Subsequently, the State moved to adjudicate guilt. 
Appellant stipulated that the allegations in the State's motion were true and signed a waiver of her
right to appeal.  Her counsel also signed the waiver.  Appellant was adjudicated guilty of the offense
of forgery and assessed punishment at confinement for fifteen months in a state jail facility. 
Appellant then filed a pro se notice of appeal.

	The trial court entered a certification of the defendant's right to appeal in which the court
certified that the defendant has waived the right to appeal.  See Tex. R. App. P. 25.2(a)(2).  The
certification was signed by Appellant and her counsel and is included in the record on appeal.  See
Tex. R. App. P. 25.2(d).  The record supports the trial court's certification.  See Dears v. State, 154
S.W.3d 610, 615 (Tex. Crim. App. 2005).  Accordingly, we dismiss the appeal for want of
jurisdiction.

Opinion delivered June 18, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)


